                       IN THE UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

WHAM-O HOLDING, LTD. and
INTERSPORT CORP. d/b/a WHAM-O,
                                                               Civil Action No.: 1:24-cv-01468
        Plaintiffs,
                                                               Judge Franklin U. Valderrama
v.
                                                              Magistrate Judge Maria Valdez
THE PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

        Defendants.
                              SATISFACTION OF JUDGMENT

       WHEREAS, a judgment was entered in the above action on May 14, 2024 [33] in favor of

Plaintiffs and against the Defendants Identified in Amended Schedule A. Plaintiffs acknowledge

payment of an agreed upon damages amount, costs, and interest and desires to release this judgment

and hereby fully and completely satisfy the same as to the following Defendants:

               NO.                                  DEFENDANT
                91                                   NEW TAG
                82                               Enlightenment Tools
                98                               TO BE BEST TOOLS
                47                                      Kunjiao


        THEREFORE, full and complete satisfaction of said judgment as to above identified

Defendants is hereby acknowledged, and the Clerk of the Court is hereby authorized and directed

to make an entry of the full and complete satisfaction on the docket of said judgment.
            23 2024
  DATED: May_,                                   Respectfully submitted,



                                                 Keith A. Vogt, Esq. (Bar No. 6207971)
                                                 Keith Vogt, Ltd.
                                                 33 West Jackson Boulevard, #2W
                                                 Chicago, Illinois 60604
                                                 Telephone: 312-971-6752
                                                 E-mail: keith@vogtip.com

                                                 ATTORNEY FOR PLAINTIFF(S)




                                                        23 May, 2024.
Subscribed and sworn before me by Keith A. Vogt, on this_of

Given under by hand and notarial seal.




                                          STATE OF __      !_I_/
                                                    I ......       __
                                                                   V\...-V 1_'_j---­


                                                           (!yp K
                                          COUNTY OF --=-----------


                                                           GRISELDA DELGADO
                                                             OFFICIAL SEAL
                                              • N.otary Public, State of Illinois
                                                          My Commission Expires
                                                             October 05, 2026
